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                             Exhibit 16
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                                                                    2. the Medicines and Healthcare Products Regulatory
                  2019 WL 341909                                      Agency (MHRA), including Scotland’s Health Facilities
    Only the Westlaw citation is currently available.                 Scotland (HFS) and the National Health Services (NHS)
             United States District Court,                            (United Kingdom);
             S.D. Ohio, Eastern Division.
                                                                    3. the Federal Institute for Drugs and Medical Devices
        IN RE: DAVOL, INC./C.R. BARD, INC.,                            (BfArM) (Germany);
          POLYPROPYLENE HERNIA MESH
         PRODUCTS LIABILITY LITIGATION                              4. Health Canada;

                   Case No. 2:18-md-2846                            5.     the Therapeutic   Goods    Administration     (TGA)
                              |                                          (Australia); and
                     Signed 01/28/2019
                                                                    6. the Pharmaceuticals & Medical Devices Agency
                                                                      (PMDA) (Japan).

                 OPINION AND ORDER                                (Id. at 3–4). Relevant here, Plaintiffs are “asking for the
                                                                  official regulatory file containing the communications and
EDMUND A. SARGUS, JR., CHIEF UNITED STATES
                                                                  submissions between Defendants' implicated subsidiary or
DISTRICT JUDGE, KIMBERLY A. JOLSON, UNITED
                                                                  affiliate and the regulatory authority at issue.” (Id.).
STATES MAGISTRATE JUDGE

 *1 This matter is before the Court on Plaintiffs' Motion         The parties disagree as to whether the foreign regulatory
to Compel Production of Certain Foreign Regulatory                materials are relevant and whether their production would
Documents (Doc. 78). For the reasons that follow, Plaintiffs'     be too burdensome. They have been unable to resolve this
Motion is GRANTED in part and DENIED in part.                     dispute extrajudicially, which led to the instant Motion.
Specifically, Defendants are ORDERED to produce official          Defendants filed a Response in Opposition (Doc. 87), and
communications between Defendants and the six regulatory          Plaintiffs filed a Reply (Doc. 90). The Motion is now ripe for
authorities identified in Plaintiffs' Motion (id. at 3–4)         resolution.
regarding the safety and labeling of polypropylene hernia
mesh products identified in paragraph 15 of the Master Long
                                                                  II. STANDARD OF REVIEW
Form Complaint. The parties are ORDERED to meet and
                                                                  “Determining the proper scope of discovery falls within the
confer regarding a reasonable time-period applicable to that
                                                                  broad discretion of the trial court.” Gruenbaum v. Werner
discovery request.
                                                                  Enter., Inc., 270 F.R.D. 298, 302 (S.D. Ohio 2010) (citing
                                                                  Lewis v. ACB Business Servs., Inc., 135 F.3d 389, 402 (6th
I. BACKGROUND                                                     Cir. 1998) ). According to Rule 26(b), “[p]arties may obtain
Plaintiffs are requesting that the Court compel Defendants        discovery regarding any nonprivileged matter that is relevant
to produce foreign regulatory materials relating to               to any party’s claim or defense and proportional to the needs
polypropylene surgical mesh. (See generally id.). Plaintiffs      of the case.” Fed. R. Civ. P. 26(b)(1). “On notice to other
made the initial request for these materials in their First Set   parties and all affected persons, a party may move for an
of Request for the Production of Documents, which was             order compelling disclosure or discovery.” Fed. R. Civ. P.
served on September 5, 2018, (Id. at 3). Through the meet         37(a)(1). The moving party bears the burden of demonstrating
and confer process, Plaintiffs have narrowed their request        relevance. Gruenbaum, 270 F.R.D. at 302 (citation omitted).
“to communications relating to the safety and labeling of         “If the movant makes this showing, ‘then the burden shifts
polypropylene surgical mesh products” between Defendants          to the non-movant to show that to produce the information
and a limited number of foreign regulatory authorities,           would be unduly burdensome.’ ” Ball v. Kasich, No. 2:16-
specifically:                                                     CV-282, 2018 WL 6242230, at *3 (S.D. Ohio Nov. 29,
                                                                  2018) (quoting Prado v. Thomas, No. 3:16-cv-306, 2017 WL
  1. the Scientific Committees of the European Commission;        5151377, at *1 (S.D. Ohio Oct. 19, 2017) ).




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                                                                   United States. (Doc. 87 at 7–8). Plaintiffs and the Court
III. ANALYSIS                                                      agree with Defendants on this factual point, but not its legal
 *2 The parties generally dispute whether Plaintiffs'              significance. Regardless of the country in which Defendants
request for foreign regulatory materials is (1) relevant, (2)      and their subsidiaries operate, Defendants are obligated to
proportional to the needs of the case, and (3) premature. The      notify regulatory authorities of potential health and safety
Court addresses each of these arguments in turn.                   risks associated with their products. As discussed above,
                                                                   foreign regulatory materials may therefore be relevant to the
                                                                   extent they contain information about what Defendants knew
   A. Relevance
                                                                   about the alleged risks associated with their hernia mesh
“Federal Rule of Civil Procedure 26 allows for broad
                                                                   products, when they knew about those alleged risks, and
discovery in litigation, including ‘any nonprivileged matter
                                                                   whether those alleged risks were communicated to physicians
that is relevant to any party’s claim or defense and
                                                                   and patients.
proportional to the needs of the case.’ ” FCA US LLC, v.
Patrea Bullock, No. 17-CV-13972, 2019 WL 258169, at *2
                                                                   Moreover, Defendants' argument that courts have often
(E.D. Mich. Jan. 18, 2019) (alteration omitted) (quoting Fed.
                                                                   excluded evidence regarding foreign regulatory standards
R. Civ. P. 26(b)(1) ); see also Commerce & Indus. Ins. Co. v.
                                                                   at trial is misplaced. (See id. at 8–11 (collecting cases) ).
Century Sur. Co., No. 2:16-CV-320, 2017 WL 946984, at *3
                                                                   Admissibility at trial does not determine relevancy for
(S.D. Ohio Mar. 10, 2017) (recognizing “the broad scope of
                                                                   discovery purposes. See Fed. R. Civ. P. 26(b)(1) (“Information
discovery permitted by the Federal Rules”).
                                                                   within the scope of discovery need not be admissible in
                                                                   evidence to be discoverable.”).
As explained below, a narrowed version of Plaintiffs'
discovery request satisfies this liberal standard. And, in
                                                                    *3 Plaintiffs have therefore shown that official
its discretion, the Court will limit the scope of discovery
                                                                   communications between Defendants and the six regulatory
to official communications between Defendants and the
                                                                   authorities identified above regarding the safety and
six regulatory authorities identified above regarding the
                                                                   labeling of polypropylene hernia mesh products identified
safety and labeling of polypropylene hernia mesh products
                                                                   in paragraph 15 of the Master Long Form Complaint are
identified in paragraph 15 of the Master Long Form
                                                                   relevant here. The relevance of foreign regulatory materials
Complaint (Doc. 67).
                                                                   regarding products not at issue in this case is less clear to the
                                                                   Court. Accordingly, to the extent Plaintiffs' Motion requests
As in most products liability cases, notice and causation are
                                                                   those materials, it is DENIED without prejudice. If Plaintiffs
central issues here. The requested foreign regulatory materials
                                                                   seek such materials at a later date, they must more clearly
are relevant to those issues because Plaintiffs can use them “to
                                                                   demonstrate relevancy.
discover what Defendants knew about the potential risks of
the products at issue here, when Defendants knew about those
potential risks, what follow-up investigations Defendants did        B. Proportionality
to learn more about those potential risks, and other facts that    Rule 26, which governs the scope of discovery and its limits,
are potentially relevant....” Hardy v. Pharmacia Corp., No.        provides in relevant part:
4:09-CV-119 CDL, 2011 WL 2118983, at *3 (M.D. Ga. May
27, 2011); (see also Doc. 78-3 at 3–7 (same); Doc. 46 at
4 (finding that information regarding “whether Defendants
                                                                                Parties may obtain discovery
had additional knowledge of safety information concerning”
                                                                                regarding any nonprivileged matter
the products at issue to be relevant) ). The authorities cited
                                                                                that is relevant to any party’s claim or
by Plaintiffs confirm this conclusion. (See Doc. 78 at 7–8
                                                                                defense and proportional to the needs
(collecting cases) ).
                                                                                of the case, considering the importance
                                                                                of the issues at stake in the action,
Defendants respond that foreign regulatory materials do
                                                                                the amount in controversy, the parties'
not matter here because this case concerns United States
                                                                                relative access to relevant information,
resident plaintiffs who used hernia mesh products approved
                                                                                the parties' resources, the importance
by the United States Food and Drug Administration and
                                                                                of the discovery in resolving the issues,
that all of the events underlying this case occurred in the


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            and whether the burden or expense                    Relevant here, the plaintiffs requested “discovery of
            of the proposed discovery outweighs                  communications between the foreign entities and foreign
            its likely benefit. Information within               regulatory bodies regarding the IVC filters at issue.” Bard
            this scope of discovery need not                     IVC Filters, 317 F.R.D. at 563. In response to the plaintiffs'
            be admissible in evidence to be                      motion, the defendants submitted an affidavit from a Bard
            discoverable.                                        employee, explaining that regulatory matters were handled by
                                                                 the defendants' employees in the United States. Id. at 565.
                                                                 Denying the plaintiffs' request, the district court concluded
Fed. R. Civ. P. 26(b)(1). The rule “is intended to               that the discovery sought by the plaintiffs was of limited
encourage judges to be more aggressive in identifying and        relevance and not proportional to the needs of the case:
discouraging discovery overuse by emphasizing the need
to analyze proportionality before ordering production of
relevant information.” BlackRock Allocation Target Shares:                       *4 Plaintiffs are engaging in
Series S Portfolio v. Wells Fargo Bank, Nat'l Ass'n, No.                        substantial discovery with respect
14CIV10067KPFSN, 2017 WL 3610511, at *6 (S.D.N.Y.                               to    Defendants'     communications
Aug. 21, 2017) (citation and internal quotation marks                           with American regulators, including
omitted).                                                                       extensive     ESI      searches     and
                                                                                depositions of relevant witnesses.
The Rule 26(b)(1) factors weigh in favor of an order                            This discovery should capture
compelling the production of the discovery, as narrowed by                      communications        with      foreign
the Court, here. First, the issues of notice and causation                      regulators that originate in the United
are central to this action. The requested foreign regulatory                    States, as most appear to. The
materials are relevant to those important issues. Second, in                    Court concludes that the burden
an MDL with potentially thousands of individual plaintiffs,                     and expense of searching ESI from
the amount in controversy is likely significant. Third,                         18 foreign entities over a 13-
Defendants, through their foreign subsidiaries, can access                      year period outweighs the benefit
the requested foreign regulatory materials. (See Doc. 87-2,                     of the proposed discovery—a mere
¶ 4 (acknowledging that foreign regulatory submissions “are                     possibility of finding a foreign
located either with a subsidiary of C. R. Bard, Inc. or an                      communications inconsistent with
International Business Center.”) ). Fourth, Defendants have                     United States communication.
significant resources to collect and produce the relatively
narrow category of documents the Court will order to be
produced.                                                        Id. at 566.

Nonetheless, Defendants rely on In re Bard IVC Filters           Defendants contend that the facts of this case require the same
Product Liability Litigation, 317 F.R.D. 562 (D. Ariz.           conclusion. But this argument ignores significant factual
2016) (“Bard IVC Filters”) to argue that Plaintiffs' request     differences between the two cases. Most importantly, unlike
is not proportional to the needs of this case. That case         the defendants in Bard IVC Filters, Defendants have not
“involve[d] thousands of personal injury cases related to        presented the Court with any evidence with regard to the
inferior vena cava (‘IVC’) filters manufactured and marketed     burden of production. (See Doc. 87 at 14–16). Instead,
by Defendants C. R. Bard, Inc. and Bard Peripheral Vascular,     they merely assert that the requested discovery “would be
Inc.” 289 F. Supp. 3d 1045, 1046 (D. Ariz. 2018). The            burdensome and costly” because:
“[p]laintiffs allege[d] that Bard filters are more dangerous
than other IVC filters because they have a higher risk of
tilting, perforating the IVC, or fracturing and migrating to                    Bard would have to identify the
neighboring organs. [They] further allege[d] that Bard failed                   applicable files, which are not merely
to warn physicians and patients about these higher risks.” Id.                  in a database, but instead located in
at 1046.                                                                        each individual country, and search
                                                                                and identify all foreign regulatory


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                                                                        to produce foreign regulatory information that is contained
                                                                        within the United States regulatory files and non-privileged
             correspondence from those files                            documents that hit on relevant search terms from United
             during any timeframe. In addition,                         States custodians according to the ESI protocol, regardless
             Bard would then have to review the                         of whether such documents discuss foreign regulatory
             documents for relevance and privilege.                     matters.” (Id. at 4), Plaintiffs, however, have not reviewed that
             Finally, Bard would have to ensure                         material yet. (Id.). Therefore, Defendants assert, there is no
             that the production complies with the                      need to compel the production of documents that Plaintiffs
             various data and privacy laws of the                       may soon receive. (Id. at 4–5).
             countries in which the foreign entities
             are located, redact the documents                           *5 As an initial matter, the Court notes that this argument is
             pursuant to applicable law, and then                       in tension with Defendants' relevancy argument. On the one
             produce the redacted documents.                            hand, Defendants argue that foreign regulatory materials are
                                                                        not relevant to this case, (Id. at 7–14). On the other hand,
                                                                        they have agreed to produce foreign regulatory materials
(Id. at 15–16). Defendants could have provided the Court with           and communications related to the same so long as they are
affidavits from their employees and counsel detailing the cost          contained in United States regulatory files or in the ESI of
in terms of time and money that such a document collection              United States custodians. (Id. at 4-6).
and review would require. But they have not done so, and
the Court declines to rely on their conclusory assertions here.         More importantly, the Court has concluded that Plaintiffs'
See Ball, 2018 WL 6242230, at *3 (holding that the burden               request, as narrowed by the Court, is relevant and proportional
is on the non-movant to prove that production of requested              to the needs of the case. The Court declines to delay discovery
discovery would be unduly burdensome).                                  related to this request on the off chance that some of the
                                                                        requested materials may be produced at some indeterminate
Further, the scope of the discovery that the Court is ordering          point in the future.
in this case is significantly narrower than the discovery
requested in Bard IVC Filters. The Bard IVC Filters plaintiffs
requested “discovery of all communications” that 18 Bard                IV. CONCLUSION
subsidiaries “have had with foreign regulatory authorities              For the foregoing reasons, Plaintiffs' Motion to Compel (Doc.
involving all Bard IVC filters since 2003.” 317 F.R.D.                  78) is GRANTED in part and DENIED in part. Defendants
at 566 (emphasis added). In contrast, here, the Court                   are ORDERED to produce official communications between
has narrowed Plaintiffs' request to official communications             Defendants and the six regulatory authorities identified in
between Defendants and six regulatory authorities regarding             Plaintiffs' Motion (id. at 3–4) regarding the safety and
the safety and labeling of only the polypropylene hernia                labeling of polypropylene hernia mesh products identified in
mesh products identified in paragraph 15 of the Master Long             paragraph 15 of the Master Long Form Complaint. The parties
Form Complaint. This narrowed request will not require an               are ORDERED to meet and confer regarding a reasonable
exhaustive search of Defendants' and their subsidiaries' ESI.           time-period applicable to that discovery request.
Nor will it require Defendants to search for information about
all of Defendants' polypropylene surgical mesh products.                IT IS SO ORDERED.
Further, to alleviate any concern regarding the time-period
applicable to Plaintiffs' discovery request, the Court will order
                                                                        All Citations
the parties to meet and confer regarding this issue.
                                                                        Slip Copy, 2019 WL 341909

  C. Premature
Finally, Defendants argue that Plaintiffs' request is premature.
(Doc. 87 at 4–6). According to them, they have “agreed

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